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Guited States District Court

SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

CHANGE OF PLEA/ENTRY OF PLEA MINUTES

Case No. 218-cr-50

United States of America

 

 

 

 

 

vs. Matthew Josephson
Michael Arthur Nixon U.S. Attorney
11:14-11:40 Jason Tate
Defendant/A ge Attorney for Defendant
Plea agreement (Received). [V ]Defendant Sworn [ ]counsel Waived.
CL] Plea agreement previously filed.
[| Arraigned and plead to count(s)
Plea of not guilty withdrawn and plea of guilty entered as to count(s)

 

Count 1 (One), Lessor Offense of the indictment.

 

Ofcr-Michael Sapp,
Factual basis Established. Oral. Plea Accepted Witness for factual basis Brunswick PD EB.

Adjudication of guilt _Made.

Referred to probation office for pre-sentence investigation Yes.

 

 

Sentencing Scheduled for later date at TBD
[] Bond Continued Bond modified to
Bond set at

 

LJ Bond not made defendant in jail.

Defendant remanded to custody of United States Marshal.

Honorable Lisa Godbey Wood, U. S. District Court Judge Date 5/21/2019
Court Reporter Debbie Gilbert Probation Officer Sarah Railing
Courtroom Deputy Clerk Kim Mixon U.S. Marshal Marty Fitzjurls
